    Case 1:05-cv-01048-UNA Document 290 Filed 03/25/11 Page 1 of 4
                      UNCLASSIFIEDIIFOR PUBLIC RELEASE


                                  ~

                         UNITED STATES DISTRICT COURT
                                                                              FILED WITH THE
                         FOR THE DISTRICT OF COLUMBIA
                                                                          cg~T~
                                                                          DAT,E:     'I   I.
ABDULSALAM ALI ABDULRAHMAN
AL-HELA,

               Petitioner,                           Civil Action No.:      05-1048

               v.

BARACK OBAMA, et al.,

               Respondents.

                               MEMORANDUM ORDER

         DIRECTING THE GOVERNMENT TO SUBMIT SUPPLEMENTAL BRIEFING

       This matter comes before the court on the government's first and third ex parte

motions for exceptions from disclqsure pursuant to § I.R of the Amended Case

Management Order ("CMO"). In both motions, the government requests permission to

withhold in full or in part approximately_documents that "involv[e]

information subject to [the government's] disclosure obligation under the Amended

CMO." Govt's 3d Mot. at 1; see also Govt's 1st Mot at 1.

       In support of its motions, the government relies on declarations




declarations purport to describ

the basis of the government's motions, and the reasons why these documents must not be

disclosed to the petitioner or his counsel.

                               Neither declaration, however, provides a rigorous and

specific assessment of the materiality of the information contained in each of the




                      UNCLASSIFIEDIIFOR PUBLIC RELEASE
                                      --------~-----_._- --~
          Case 1:05-cv-01048-UNA Document 290 Filed 03/25/11 Page 2 of 4
.
'"
                            UNCLASSIFIEDIIFOR PUBLIC RELEASE

                                             'fOPSECR:E'f

     documents. Instead, the declarations note that certain information contained in each of

     the documents is "arguably exculpatory," and then proceed to explain why disclosure

     could cause significant damage to the national security.



            A district court may only compel the disclosure of classified infonnation after

     determining, inter alia, that "that the information is both relevant and material - in the

     sense that it is at least helpful to the petitioner's habeas case." Al Odah v. United States,

     559 FJd 539, 544-45 (D.C. Cir. 2009). Although the court will not rely on the

     government's assessment as to what documents may be material to the petitioner's case,

     id. at 545 (noting that the court is responsible for making its own materiality

     determination when unredacted infomation is submitted to the court), the court may

     demand that the government provide its own ''particularized assessment of whether the

     information [it seeks to withhold] is material," id. at 546. As the Circuit has recognized,

     "[s]uch a proffer, combined with an explanation of why nondisclosure is warranted, is

     necessary for meaningful judicial decisionmaking." Id. Indeed, "if the court determines

     that the assistance of petitioner's counsel would facilitate the making of a materiality

     determination," it may "compel[] the government to produce an unclassified substitution

     that will enable counsel to assist the court." Id. at 547.

            The court has scrutinized the                         declarations as well as the

     government's first and third ex parte motions and is dissatisfied with the government's

     attempts to assess the materiality of the information it seeks to withhold. Instead of

     providing a detailed materiality assessment with regard to each document, the




                                                    2

                           UNCLASSIFIEDIIFOR PUBLIC RELEASE

           Case 1:05-cv-01048-UNA Document 290 Filed 03/25/11 Page 3 of 4
                            UNCLASSIFIEOIIFOR PUBLIC RELEASE

...
                                             TOI'~l!CImT



      government's discussion focuses almost exclusively on its reasons why disclosure would

      imperil national security.

             The court therefore orders the government to provide an analytically aggressive

      assessment of the materiality issue for each document. Moreover, in making such an

      assessment, the court reminds the government that material information is not limited to

      that information which the government relies upon to show that a detainee is an enemy

      combatant. AIOdah, 559 F.3d at 546. This Circuit has clarified that information is

      material not only if it tends to shows that the petitioner is not an enemy combatant but

      also if it indicates that the information relied upon by the government is unreliable. Id.

      The court expects the government to apply such parameters when conducting its

      materiality assessment.

             Additionally, the government shall provide a brief description of the information

      contained in each document and any contextual background information that is necessary

      to fully appreciate the materiality of the document. The government shall also indicate if

      the document is part of the factual return and, if so, provide the corresponding factual

      return exhibit number. Similarly, the government shall indicate which, if any, documents

      (aside from those provided in the factual return) have been provided to the petitioner in

      redacted form and shall provide the court with copies ofthe redacted versions ofthose

      documents. Finally, the government shall provide to the court copies of t h e _

      documents, i. e. attachments 1 and 2 of its third ex parte motion, as well as any future

      documents responsive to this order in a three-ring binder.




                                                    3

                            UNCLASSIFIEOIIFOR PUBLIC RELEASE

         Case 1:05-cv-01048-UNA Document 290 Filed 03/25/11 Page 4 of 4
..                       UNCLASSIFIEOIIFOR PUBLIC RELEASE
 "
                                         TOP SECRET


           Accordingly, it is this 15th day of February, 2011, hereby

            ORDERED that the government shall provide supplemental briefing conforming

     with the aforementioned parameters by March 15, 2011.

            SO ORDERED.



                                                               RICARDO M. URBINA
                                                              United States District Judge




                                                4
                         UNCLASSIFIEOIIFOR PUBLIC RELEASE
